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       Of Attorneys for Respondent Heidi Brown



                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                        Medford Division
In re the Application of:
                                                   Case No.: 1:24-cv-00648-AA
ARNAUD PARIS,
              Petitioner,
                                                   NOTICE OF APPEARANCE OF
       and                                         COUNSEL FOR RESPONDENT
HEIDI MARIE BROWN,
              Respondent.

                    The Convention on the Civil Aspects of International Child Abduction,
                                     Done at the Hague on 25 Oct 1980
                      International Child Abduction Remedies Act, 22 USC § 9001 et seq.

TO: The Clerk of the Court and all parties of record
       NOTICE is hereby given that I, Katelyn Skinner, am admitted and otherwise
authorized to practice in this court, and I appear in this case with Katrina Seipel, and the law
firm of Buckley Law, P.C., as counsel of record on behalf of Respondent Heidi Brown.
       Attorney Katelyn Skinner will be the trial attorney for the Respondent in this matter,
which has not yet been scheduled. Both myself, Katelyn Skinner, at kds@buckley-law.com



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and Katrina Seipel at kas@buckley-law.com request to be added to the ECF service list for
this case.
        Copies of all further filings, notices, and correspondence herein shall should be
directed to the undersigned.
Respectfully submitted this 10th day of May, 2024.
                                                      --~nMrff7!
                                                     Katelyn Skinner, OSB No. 105055
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                                                     Katrina Seipel, OSB No. 164793
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                                                     Tel: 503-620-8900
                                                     Of Attorneys for Respondent
                                CERTIFICATE OF SERVICE
        I certify that this document was served by e-mail first-class U.S. mail upon Petitioner
Arnaud Paris, to aparis@sysmicfilms.com, and to his last known address of 13 rue
Ferdinand Duval, 75004 Paris, France on this 10th day of May, 2024.
                                                      .~ ?iMrp/Jj
                                                     Katelyn Skinner, OSB No. 105055
                                                     Of Attorneys for Respondent
                                                     kds@buckley-law.com
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